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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


Criminal No. 19-10080-NMG


                            UNITED STATES OF AMERICA


                                            v.


                                   DOUGLAS HODGE


                         ORDER RE CONFLICT OF INTEREST

                                    October 21, 2019
KELLEY, U.S.M.J.

       The government moved for a hearing under Federal Rule of Criminal Procedure

44(c). (#400.) Mr. Hodge is represented by the law firm of Ropes and Gray LLP (“Ropes”),

which also represents a codefendant, Elizabeth Henriquez, and in addition, represents

the University of Southern California (“USC”), whom the government alleges to be a victim

in the case. Mr. Hodge is charged with defrauding USC by conspiring to use bribery to

attempt to have two of his children admitted to USC.

       Mr. Hodge filed a response to the government’s motion, (#446-1, for an unredacted

copy filed ex parte, see #453), and in addition, an affidavit by Mr. Hodge, stating that he

had been informed of the limitations posed by Ropes’ joint representation, and waived all

claims based on any conflict, and an affidavit by Attorney Brien O’Connor of Ropes,

stating that he had informed Mr. Hodge about the conflicts and their possible

ramifications. (##454-455.) The government filed a reply. (#460.)


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       On July 22, 2019, the court held a hearing on the government’s motion. (#487.) At

the hearing, Attorney O’Connor explained why he believes the conflicts of interest with

USC and codefendant Henriquez are not fatal to Ropes’ representation of Mr. Hodge.

(#514, transcript of hearing.) Notably, Mr. Hodge has retained counsel not affiliated with

Ropes, Attorney Miranda Hooker of Pepper Hamilton LLP, who will represent Mr. Hodge

in any part of the case having to do with USC. Id. at 4.

       With regard to the joint representation of Mr. Hodge and Ms. Henriquez, the court

notes that counsel for Ms. Henriquez filed a memorandum under seal, setting out the

steps that Ropes had taken to prevent the joint representation from prejudicing either

client. (#420.) These steps include the setting up of “intra- firm ethical walls” between the

two teams and having Ms. Henriquez consent to the joint representation. Id. at 1-2. In

addition, the government does not object to the joint representation of Ms. Henriquez and

Mr. Hodge by Ropes. (#449 at 4.)

       At the hearing on July 22, the court explained to Mr. Hodge that when

codefendants are represented by the same counsel, conflicts may affect the quality of

their representation. The court set out potential problems, for example, joint

representation might preclude one defendant from engaging in plea bargaining or

otherwise interfere with a favorable disposition of the charges against that defendant, or

might undermine effective cross-examination of the codefendant at trial. The court also

explained to Mr. Hodge that, although Mr. O’Connor had said that the conflicts would not

affect his defense, there was no way for anyone to know at this stage of the case whether

that was true.




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       The court further advised Mr. Hodge that he has an absolute right to representation

by separate counsel of his own choosing.

       Mr. Hodge acknowledged that he is aware of the risks with his attorneys’

representation, he is aware that he is entitled to be represented by separate counsel, and

that present counsel have discussed the matter with him.

       Notwithstanding the potential for conflicts of interest to arise and the fact that a

conflict of interest exists in the case, Mr. Hodge still chose to be represented by present

counsel, and he signed a waiver of counsel. (#488.) The court took the matter under

advisement.

       The court finds that the conflict with Ropes’ representation of Mr. Hodge and

Elizabeth Henriquez may be waived, and finds that Mr. Hodge’s waiver of that conflict

was intelligent, knowing and voluntary, and accepts it. The thornier issue is the conflict

between USC and Mr. Hodge, because unlike Mr. Hodge and Ms. Henriquez, USC did

not consent to the joint representation, and the parties’ sparring over that issue continued

after the hearing.

       After the hearing, counsel for Mr. Hodge filed a further memorandum, arguing that

under Massachusetts Rule of Professional Conduct 1.7, there was no “direct adversity”

between Mr. Hodge and USC, and therefore Ropes did not have to obtain a waiver from

USC. (#498.) The government filed a supplemental memorandum in response, arguing

that Mr. Hodge’s position was wrong, and that the use of conflict counsel would not

ameliorate the problem created by Ropes’ joint representation of USC and Mr. Hodge.

(#504.) Mr. Hodge responded to this memorandum. (#547.)




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      In the three months since the hearing on July 22, this court has not ruled on the

waiver issue, because the court was waiting for matters between another defendant,

Robert Zangrillo, and USC, to play out. Mr. Zangrillo filed a Rule 17c subpoena requesting

documents from USC concerning its admissions process, and USC moved to quash.

(#532.) The court held a hearing on the motion on September 18, 2019, at which USC

vigorously objected to producing the requested documents. (#564.) Since that time,

counsel for Mr. Zangrillo and USC have been attempting to reach agreement on what

documents USC will produce. See, e.g., #582, defense counsel’s status report, filed

October 11, 2019. The court was waiting to accept Mr. Hodge’s waiver of the conflict

between UCS and Ropes, until such time as the question of the document production

from USC to Mr. Zangrillo was resolved, in case that matter might in some way affect Mr.

Hodge’s defense, and his attorneys’ views concerning their conflict with USC.

      On Thursday, October 17, 2019, the court learned that Mr. Hodge was scheduled

to have a R. 11 hearing before Judge Gorton on October 21. The court therefore

scheduled a further hearing on the waiver issue prior to the R. 11 hearing on October 21.

      At the hearing before this court on October 21, the government stated that it no

longer objected to Ropes’ representation of Mr. Hodge, and also stated that it did not

believe that USC would be seeking restitution in the case. Attorney O’Connor appeared

at the hearing and said that he was aware that Mr. Zangrillo had sought documents from

USC and that the issue did not affect Mr. Hodge’s defense. He further stated that he did

not anticipate that any conflict between his client and UCS would have any effect on his

advocacy for Mr. Hodge at sentencing.




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      This court finds that because Mr. Hodge is pleading guilty, it is not necessary to

decide many of the issues raised by the government about Ropes’ joint representation of

Mr. Hodge and USC. Most of those issues pertain to problems that would only arise at

trial, such as cross-examination of USC employees. In addition, the only issue pertaining

to the conflict that was likely to have an impact on Mr. Hodge’s sentencing was the

question of restitution, which the court now understands UCS will not be seeking.

      At the hearing on October 21, 2019, the court questioned Mr. Hodge under oath

about two matters: first, whether he understood that he was waiving any potential issues

with regard to discovery from USC in his case, and any potential avenues of defense

concerning USC, and second, whether he understood that he was waiving any potential

issues with regard to what effect his attorneys’ conflict might have on his sentencing.

      Mr. Hodge stated clearly that he understood the potential problems with his

attorneys’ representation of him, and he wanted to waive the issues and continue with

present counsel.

      This court finds that Mr. Hodge knowingly, intelligently, and voluntarily waived his

right to be represented by separate counsel.




                                         ___/s/ Page Kelley_________________
                                         PAGE KELLEY
                                         UNITED STATES MAGISTRATE JUDGE


October 21, 2019




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